        Case
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             1:19-cv-00040-REB
               19-35138, 02/21/2019,
                                 Document
                                     ID: 11202876,
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                                                   DktEntry:
                                                     02/21/192, Page
                                                                Page 11 of
                                                                        of 22



                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                            FEB 21 2019
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
BIG SKY SCIENTIFIC LLC,                           No.    19-35138

                 Plaintiff-Appellant,             D.C. No. 1:19-cv-00040-REB
                                                  District of Idaho,
 v.                                               Boise

JAN M. BENNETTS, in her official                  ORDER
capacity as Ada County Prosecuting
Attorney; et al.,

                 Defendants-Appellees.

      The appeal filed February 20, 2019 is a preliminary injunction appeal.

Accordingly, Ninth Circuit Rule 3-3 shall apply.

      The mediation questionnaire is due three days after the date of this order.

      If they have not already done so, within 7 calendar days after the filing date

of this order, the parties shall make arrangements to obtain from the court reporter

an official transcript of proceedings in the district court that will be included in the

record on appeal.

      The briefing schedule shall proceed as follows: the opening brief and

excerpts of record are due not later than March 20, 2019; the answering brief is due

April 17, 2019 or 28 days after service of the opening brief, whichever is earlier;

and the optional reply brief is due within 21 days after service of the answering

brief. See 9th Cir. R. 3-3(b).

tsp/MOATT
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                                                     02/21/192, Page
                                                                Page 22 of
                                                                        of 22



      No streamlined extensions of time will be approved. See 9th Cir. R. 31-

2.2(a)(3). Any request for an extension of time to file a brief must be made by

written motion under Ninth Circuit Rule 31-2.2(b).

      Failure to file timely the opening brief shall result in the automatic dismissal

of this appeal by the Clerk for failure to prosecute. See 9th Cir. R. 42-1.




                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT


                                                  By: Tina S. Price
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7




tsp/MOATT                                 2
